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                       Exhibit A
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                                        December 7, 2020
By ECF

The Honorable Rodney Gilstrap
Sam B. Hall, Jr. Federal Building
United States Courthouse
100 East Houston Street
Marshall, Texas 75670

         RE:       Luminati Networks Ltd. v. Tefincom S.A. d/b/a NordVPN,
                     Civil Action No. 2:19-cv-00414-JRG (E.D. Tex.)

Dear Chief Judge Gilstrap:
       Defendant Tefincom S.A. d/b/a NordVPN (“NordVPN”) and Plaintiff Luminati Net-
works Ltd. (“Luminati”) file this joint letter pursuant to Your Honor’s Standing Order Regarding
Motions Under 35 U.S.C. § 101 and Accompanying Certifications (“Standing Order”), and re-
spectfully show as follows:
I.      NordVPN’s Position
        Claim construction is not required before determination of NordVPN’s Rule 12(b)(6)
Motion to Dismiss Amended Complaint (ECF No. 24) (“Motion”) because the basic character of
the claims can be fully—and easily—understood without claim construction. See, e.g., Reese v.
Sprint Nextel Corp., 774 F. App’x 656, 659-60 (Fed. Cir. 2019); Content Extraction & Transmis-
sion LLC v. Wells Fargo Bank, Nat’l Ass’n, 776 F.3d 1343, 1349 (Fed. Cir. 2014). The Patents-
in-Suit claim nothing more than general purpose computers and servers sending or receiving in-
formation to or from one another over standard Internet connections using standard Internet pro-
tocols and IP addresses. See Mot. at 3-12.
        Luminati’s proposed claim constructions confirm that claim construction is not neces-
sary. Luminati’s proposed constructions are immaterial to the eligibility analysis because the Pa-
tents-in-Suit would still fail Alice even if the Court adopted them. For example, for the ’319 pa-
tent, Luminati proposes to construe the “first server” components to mean a “web server,” de-
spite the preamble already claiming that the first server “comprises a web server.” For the other
“server” terms of the Patents-in-Suit—i.e., those that Luminati contends relate to proxy serv-
ers—Luminati proposes constructions that amount to nothing more than a “server, which is not
the client device or web server.” Construing a component to be a different component than an-
other component in the claim adds nothing to the Court’s understanding of the claims.
        For the “client” component of the ’319 and ’510 patents, Luminati proposes a construc-
tion of “consumer computer,” and for the “client” component of the ’614 patent, Luminati pro-
poses a construction of “[a] device using a client dedicated operating system and operating in the
role of a client by requesting services, functionalities, or resources from servers.” These are con-
ventional components that existed at least a decade before the earliest priority date of the Pa-
tents-in-Suit and do not change anything about the Alice inquiry.
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        Luminati also proposes, through its construction of “first server” of the ’511 patent, to
add a generic, unclaimed database component to claim 1 in an attempt to read in a limitation
from the specification in order to inject specificity into its broad, generic claims. But this generic
database adds nothing to the claims other than a “well-understood, routine, and conventional
[component] previously known to the industry.” Content Extraction, 776 F.3d at 1347-48. The
database component of Luminati’s proposed construction is so broad and generic that it undoubt-
edly includes any database that could store a group of IP addresses, which existed decades before
2009. Moreover, Luminati’s proposed construction seeks to specify the mechanism by which the
IP addresses are stored by the first server, even though such a limitation (i.e., the mechanism of
storage) is absent from the claim. Similarly, Luminati seeks to add a limitation and a method step
to claim 1 of the ’968 patent through its proposed constructions of “requesting client device” and
“second server”—adding to the claim that the selected IP is for fetching the first content and the
step of the second server using the selected IP to fetch the first content from the first web server
(a component that does not appear in the claim outside the preamble). In any event, the addition
of an unclaimed, generic database component or a content fetching step does not change any-
thing about the Alice inquiry—the broad, generic claims remain abstract even if the claims are
rewritten Luminati’s way. Luminati’s other proposed constructions—that the preambles of claim
1 of each Patent-in-Suit are limiting and that the “selected IP” of the ’511 patent “is different
from the IP addresses of the client device and web server”—likewise add nothing to the claims.
        Luminati cannot save its claims from ineligibility by attempting to inject specificity into
its broad, generic claims by proposing constructions that read in limitations from the specifica-
tion because limiting claims to a particular technological environment cannot transform an oth-
erwise abstract idea into a patent-eligible application. Reese, 774 F. App’x at 660 (citing Affinity
Labs of Texas, LLC v. DIRECTV, LLC, 838 F.3d 1253, 1259 (Fed. Cir. 2016)). “[T]he § 101 in-
quiry must focus on the language of the Asserted Claims themselves, and the specification can-
not be used to import details . . . if those details are not claimed.” ChargePoint, Inc. v. Sema-
Connect, Inc., 920 F.3d 759, 769 (Fed. Cir. 2019) (internal citations and quotations omitted).
Simply put, Luminati cannot change, through claim construction, the basic fact that its claims
cover the sending and receiving of information using standard Internet communications.
        In sum, because Luminati cannot raise any “claim construction dispute relevant to eligi-
bility and [the Court] can fully understand the basic character of the claims without claim con-
struction,” the Court should decide the Motion without waiting for claim construction.1 Reese,
774 F. App’x at 660.

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        In the co-pending 2:19-cv-00395-JRG (E.D. Tex.) case, the Court denied defendants’ Al-
ice motion to dismiss three of the current patents-in-suit (i.e., the ’614, ’319 and ’510 patents)
without prejudice to reurging it after claim construction. See 395 Case, ECF No. 85 at 5. Lumi-
nati has now submitted its proposed claim constructions in the case. See 395 Case, ECF No. 126.
The proposed claim constructions do not affect the Alice inquiry as, even if the Court adopted
them, the patents would still fail Alice. The same is true with respect to Luminati’s constructions
of the other two patents-in-suit (the ’511 and ’968 patents). See 2:19-cv-00396-JRG (E.D. Tex.),
ECF No. 71-1. Although NordVPN disputes Luminati’s claim constructions, the Court may as-
sume the accuracy of Luminati’s constructions and invalidate the patents-in-suit under Alice at
the pleadings stage.
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II.       Luminati’s Position
        Luminati provided the following list of claim terms, proposed constructions, and support-
ing intrinsic evidence to Defendants on December 6, 2020 for each of the Asserted Patents – US
10, 257,319 (“’319 Patent”), 10,484,510 (“’510 Patent”), 10,484,511 (“’511 Patent”), and
10,469,614 (“’614 Patent):
 Patent     Claim Term*      Proposed Claim Construc- Intrinsic Evidence*
                             tion Under Judge Gilstrap’s
                             Standing Order*
 ’319/      Preamble         Preamble is limiting          ’319 Patent 19:16-32; ’510 Patent
 ’510/                                                     19:18-31; ’511 Patent Fig. 1-3, 7, 12;
 ’511/                                                     Specification at 1:26-28; 2:11-26;
 ’614/                                                     12:62-13:3, 19:16-33; ‘968 Patent Figs.
 ‘968                                                      1, 3, 9-11; Specification at 4:41-5:25;
                                                           8:10-20; 9:60-10:10; 19:16-33; ’614
                                                           Patent 172:44-173:14
 ’319/      Client device    Consumer computer             Figs. 1, 2, 3, 6 and associated discus-
 ’510                                                      sion in specification; 2:8-23; 2:44-46;
                                                           2:40-52; 4:41-5:7; 5:21-41; 5:49-57;
                                                           9:12-9:50; 12:33-12:56; 12:62-13:3;
                                                           14:62-15:11; ‘319 Patent claim 1, 26;
                                                           File history at pgs. 2-6 of Oct. 18, 2018
                                                           Response; ‘510 Patent claims 1, 22;
 ’319       First server     Web server                    Figs. 1, 3 and associated discussion in
                                                           specification; 4:62-5:7; 5:21-34; 9:27-
                                                           9:50; 19:16-32; claim 1;
 ’319       Second server    A server that is not the cli- Fig. 1 and associated discussion in
                             ent device or first server    specification; 19:16-32; claim 1
 ’510       Second server    Server, which is not the 19:18-31; claim 1
                             client device or web server
 ’511       First Server     A server, separate from the Figs. 1, 3 and associated discussion in
                             web server, with a database specification; 2:11-26; 2:47-49; 4:43-
                             of IP addresses               5:22; 9:14-9:51; 19:16-33; claim 1
 ’511       Sending…the      The first server sending the Figs. 1, 3 and associated discussion in
            first content    Uniform Resource Locator specification; 5:10-5:22; 10:5-21;
            identifier to    to the web server via the 19:16-37; claim 1; claim 2
            the web server   selected IP address, which
            using the se-    is different from the IP ad-
            lected IP ad-    dresses of the client device
            dress            and web server
 ’614       First server     A server that is not the cli- Figs. 5a, 5b, 11-11b, 12a, 13, 22 and
                             ent device or web server      associated discussion in specification;
                                                           4:40-61; 6:27-42; 75:35-59; 83:4-15;
                                                           95:62-96:2; 172:44-173:14
 ’614       Client device    A device using a client Figs 5, 5a, 5b, 11-11b, 12a, 13, 25a, 49
                             dedicated operating system and associated discussion in specifica-
                             and operating in the role of tion; Abstract; 1:19-23; 4:40-8:59; 7:6-
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                        a client by requesting ser- 26; 52:48-51; 62:33-40; 75:35-59;
                        vices, functionalities, or 83:4-15; 95:4-61; 108:7-62; 119:22-53;
                        resources from servers        125:38-51; 145:6-15; Claims 1, 9, 15;
                                                      File History at pgs. 12-21 of June 18,
                                                      2019 Response and pg. 7 of Reply to
                                                      Jan. 24, 2019 Office Action
 ‘968     Requesting    A client device that selects Figs. 9-11; Specification at 4:62-5:25;
          client device an IP address for use in 8:10-14, 60-64; 9:27-35, 60-10:10;
                        fetching the first content 13:4-15, 31-36; 19:16-33
                        stored on the first web
                        server
 ‘968     Second Server A server, separate from the Figs. 1-3, 7, 12;
                        first web server, that fetch- Specification at 1:26-28; 2:11-26; 4:64-
                        es the first content using 5:22, 5:37-50, 10:22-46, 11:63-12:4,
                        the selected IP address       12:5-23, 19:16-33
        Defendants’ Motion overgeneralizes and misconstrues at least the above terms necessitat-
ing claim construction before the Motion can properly be ruled on. “[I]n determining whether the
claims are directed to an abstract idea, we must be careful to avoid oversimplifying the claims
because ‘[a]t some level, all inventions . . . embody, use, reflect, rest upon, or apply laws of na-
ture, natural phenomena, or abstract ideas.'" TLI Communs. LLC v. AV Auto. (In re TLI Com-
muns. LLC Patent Litig.), L.L.C, 823 F.3d 607, 611 (Fed. Cir. 2016).
         Each of the Asserted Patent claims utilize a system architecture comprising operationally
distinct components consisting of at least a client device, a web server, and a separate server (the
first server of the ’511 and ’614 Patents or the second server of the ’319, ’510, and ’968 Patents).
The claimed methods of the ’319, ’510, and ’614 patents involve a client device, such as an indi-
vidual’s personal computer or smart phone, receiving a request for content from a third-party
server, sending that request to a web server, receiving the requested content from the web server
and sending that content to the third-party server. See e.g. ’319 Patent at 2:44-46; see also ’614
Patent at 1:19-23. In contrast, the ’511 and ’968 Patents involve a first server as a proxy between
a client device and web server, where the first server stores and selects an IP address from a da-
tabase of IP addresses in the ’511 Patent and the client device performs the selecting in the ’968
Patent. See e.g. ’511 Patent at claim 1; ’968 Patent at claim 1. In addition, to the extent that De-
fendants’ motion relies upon its assertions that ’968 claim terms are indefinite (Motion at 11,
14), such arguments are wrong, but also require claim construction.
        The issue to be decided is “[w]hether the patents-in-suit are unpatentable under 35 U.S.C.
§ 101 as abstract where they claim sending and receiving information over the Internet through
an intermediary using general purpose computers and standard Internet protocols.” Motion at 1
(emphasis added). Defendants ignore the features distinguishing a “client device,” “web server”
and separate “server.” Id. These network components are not interchangeable, and the claimed
methods involve steps that are not limited to the ordinary use of such components. C.f. TLI
Communs., 823 F.3d at 615 (finding claims abstract because “the recited physical components
behave exactly as expected according to their ordinary use.”). Claim construction is particularly
important with regard to the Motion, as Defendants’ central 101 argument relies heavily on argu-
ing that the network components in the system architecture of the claimed methods are merely
general use computers ignoring the differences in the specific network components.
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                                  Sincerely,

                                  s/Steven Callahan
                                  Steven Callahan
                                  Counsel for NordVPN

                                  s/Sunny Cherian
                                  Sunny Cherian
                                  Counsel for Luminati
